Case 1:17-cv-22396-CMA Document 135 Entered on FLSD Docket 03/28/2018 Page 1 of 2


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 17-22396-CIV-ALTONAGA

  CLIFFORD PAPER INC.,

         Plaintiff,
  vs.

  COLONIAL PRESS
  INTERNATIONAL, INC.,

        Defendant.
  _______________________/

                        ORDER ADMINISTRATIVELY CLOSING CASE

         The parties have advised that they have amicably settled this matter. To this end, they

  have filed a Joint Motion for Dismissal with Prejudice [ECF No. 134]. Accordingly, it is

         ORDERED AND ADJUDGED as follows:

         1. With regard to the Joint Motion, The parties request the Court retain jurisdiction for

  the purpose of enforcing their settlement agreement (see Mot. ¶ 2), but they do not provide a

  copy of the agreement. The Court will not retain jurisdiction over a settlement agreement it has

  not seen or approved. Thus, the Joint Motion [ECF No. 134] is DENIED.

         2. Nevertheless, the case is administratively CLOSED without prejudice to the parties to

  file a stipulation for dismissal with the Court within thirty (30) days of the date of this Order.

  The stipulation of dismissal shall either include a copy of the settlement agreement, or remove

  the request the Court retain jurisdiction.

         3. If the parties fail to complete the expected settlement, either party may request the

  Court to reopen the case.

         4. The Clerk shall CLOSE this case for administrative purposes only. Any pending

  motions are DENIED AS MOOT, and the hearing of March 29, 2018 is CANCELLED.
Case 1:17-cv-22396-CMA Document 135 Entered on FLSD Docket 03/28/2018 Page 2 of 2



                                                 CASE NO. 17-22396-CIV-ALTONAGA

        DONE AND ORDERED in Miami, Florida, this 28th day of March, 2018.



                                                 _________________________________
                                                 CECILIA M. ALTONAGA
                                                 UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




                                          2
